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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

__________________________________________
KATHERINE JETTER, and                      )
KATHERINE JETTER LTD. d/b/a THE            )
VAULT NANTUCKET,                           )
                                           )
                  Plaintiffs,              )
                                           )
v.                                         )                Civil Action No.
                                           )
BOUTIQUE TERE, INC. d/b/a MARISSA          )
COLLECTIONS, JAY HARTINGTON,               )
MARISSA HARTINGTON, and                    )
BURT HARTINGTON                            )
                                           )
                  Defendants.              )

                                   NOTICE OF REMOVAL

       All Defendants, Boutique Tere, Inc., d/b/a Marissa Collections (“Marissa Collections”),

Jay Hartington, Marissa Hartington, and Burt Hartington (collectively, “Defendants”), by and

through undersigned counsel, hereby petition this Court for removal of this action from the

Commonwealth of Massachusetts Superior Court, Nantucket County, to the United States District

Court for the District of Massachusetts, pursuant to 28 U.S.C. §§ 1441 and 1446, et seq. As grounds

for removal, Defendants state as follows:

                               Preliminary Statement of Claims

       1.      Plaintiffs, Katherine Jetter and Katherine Jetter LTD. d/b/a The Vault Nantucket

(“The Vault”) (collectively, “Plaintiffs”) filed this action against Defendants in the

Commonwealth of Massachusetts, Superior Court, Nantucket County, Civil Action No.

2575CV00021, on May 19, 2025 (the “State Court Action”).

       2.      In their Complaint, Plaintiffs make allegations of breach of contract – non-

competition (Count I), breach of contract – confidentiality (Count II), breach of the implied
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covenant of good faith and fair dealing (Count III), tortious interference (Count IV), unfair and

deceptive trade practices in violation of M.G.L. c. 93A (Count V), misappropriation of trade

secrets in violation of M.G.L. c. 93, §§ 42 - 42G (Count VI), misappropriation of confidential

business information (Count VII), conversion (Count VIII), unjust enrichment (Count IX), and for

a declaratory judgment (Count X). Plaintiffs have additionally filed an “Emergency Motion for

Temporary Restraining Order and, After Hearing, Preliminary Injunction,” which has not been

acted upon.

                                              Venue

        3.      In accordance with 28 U.S.C. § 1441(a), venue lies in the United States District

Court for the District of Massachusetts because the State Court Action was filed within this judicial

district and division.

                                     Timeliness of Removal

        4.      Defendants were served with a copy of the Complaint on May 21, 2025. A copy of

the Complaint is attached hereto as Exhibit 1; copies of all other process, pleadings, and orders

filed in the State Court Action, including Plaintiffs’ pending “Emergency Motion for Temporary

Restraining Order and, After Hearing, Preliminary Injunction,” “Memorandum in Support” of the

foregoing motion, “Request for Short Order of Notice Regarding Its Emergency Motion,”

Affidavit of John F. Ferraro Esq. in Support of the foregoing motion, correspondence from John

F. Ferraro, Esq. requesting issuance of summonses, and summonses, are attached hereto as Exhibit

2. See 28 U.S.C. § 1446(a).

        5.      Removal of this action is timely under 28 U.S.C. § 1446(b) because this Notice of

Removal is being filed within thirty (30) days after Defendants’ receipt of a copy of the initial

pleading through service or otherwise.



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                            Grounds for Removal - Diversity Jurisdiction

         6.      Removal is appropriate under 28 U.S.C. § 1332(a) because there is complete

diversity between Plaintiffs and Defendants and the amount in controversy exceeds $75,000.

         7.      Plaintiff Katherine Jetter is a citizen of Massachusetts. Exhibit 1, Complaint

(“Compl.”) ¶ 14.

         8.      Plaintiff The Vault is incorporated in Delaware and has a principal place of business

in Nantucket, Massachusetts. Compl. ¶ 15. The Vault is therefore a citizen of Delaware and

Massachusetts.

         9.      Defendants Jay, Marissa, and Burt Hartington are citizens of Florida. Compl. ¶¶

17-19.

         10.     Defendant Marissa Collections is incorporated in Florida. Compl. ¶ 15. Marissa

Collections’ headquarters or “nerve center” is located in Naples, Florida. Affidavit of Jay

Hartington, attached hereto as Exhibit 3. Marissa Collections’ principle place of business is thus

located in Florida, and it is a citizen of Florida.

         11.     Because Plaintiffs are citizens of Massachusetts and Delaware, and Defendants are

citizens of Florida, this Court has original jurisdiction under 28 U.S.C. § 1332 based on complete

diversity of citizenship.

         12.     There is a reasonable probability that the amount in controversy in this action

exceeds the sum of $75,000, exclusive of interest and costs. Plaintiffs have made allegations that

they have suffered damages in connection with nine of the ten “Counts” in their Complaint. Comp.

¶¶ 70-121. For example, Plaintiffs make a claim for “conversion” of property, which they allege

to have “a suggested retail value of approximately $250,000…” Compl. ¶ 112. Therefore, based

upon Plaintiffs’ stated claims and the nature of the damages they seek as alleged in the Complaint,



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it cannot be stated to a legal certainty that the value of Plaintiffs’ claims is below that amount. 28

U.S.C. § 1332(a).

                                    Proper Notice of Removal

       13.     As required by 28 U.S.C. § 1446(d), Defendants will promptly file a true and

correct copy of their Notice of Removal with the Commonwealth of Massachusetts, Superior

Court, Nantucket County, where the State Court Action has been pending. Notice to State Court,

attached hereto as Exhibit 4.

       14.     As also required by 28 U.S.C. § 1446(d), Defendants will promptly serve a copy of

this Notice of Removal on the attorneys for Plaintiffs. Notice to Plaintiffs’ Attorneys, attached

hereto as Exhibit 5.

       15.     Pursuant to Local Rule 81.1(a), Defendants will obtain certified or attested copies

of the docket sheet and all pleadings in the State Court Action and will file them in this Court

within twenty-eight (28) days.

       16.     For the reasons stated above, this action is removable to this Court pursuant to the

provisions of 28 U.S.C. § 1441.

       17.     By filing this Notice of Removal, Defendants are not making a general appearance

and are not waiving any defenses and/or grounds for dismissal that may be available to them

pursuant to Rule 12 of the Federal Rules of Civil Procedure and/or any other applicable rules,

including, but not limited to, those related to service of process, sufficiency of process, venue, or

jurisdiction. Defendants specifically reserve their rights to assert any defenses and/or objection to

which they may be entitled.

       WHEREFORE, Defendants remove the State Court Action to this Court’s jurisdiction.




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                                            Respectfully Submitted,

                                            BOUTIQUE TERE, INC. d/b/a MARISSA
                                            COLLECTIONS, JAY HARTINGTON,
                                            MARISSA HARTINGTON, and
                                            BURT HARTINGTON,

                                            By their Attorneys,


                                            /s/ Damien M. DiGiovanni
                                            Damien M. DiGiovanni (BBO No. 682005)
                                            Jeffrey T. Collins (BBO No. 640371)
                                            Brendan T. Sweeney (BBO No. No. 703992)
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                               CERTIFICATE OF SERVICE

        I, Brendan T. Sweeney, hereby certify that a copy of the within pleading was served by
electronic mail upon counsel at the addresses below this 23rd day of May, 2025:

       Aliki Sofis, Esq.
       Kathleen Marini, Esq.
       John F. Ferraro, Esq.
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                                                    /s/ Brendan Sweeney
                                                    Brendan T. Sweeney




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